     Case 09-69160-jrs          Doc 19 Filed 06/18/09 Entered 06/18/09 14:06:09                        Desc O Cnf
                                      Plan & O to Debtor Page 1 of 2
                               UNITED STATES BANKRUPTCY COURT

                                        Northern District of Georgia

                                               Atlanta Division

In Re: Debtor(s)
       Brian Thomas Crooks                                Case No.: 09−69160−reb
       90 Fairlie St.                                     Chapter: 13
       Unit 203                                           Judge: Robert Brizendine
       Atlanta, GA 30303

       xxx−xx−2280

       Beth Haynes
       90 Fairlie St.
       Unit 203
       Atlanta, GA 30383

       xxx−xx−3967




                              ORDER CONFIRMING PLAN

     The Chapter 13 Plan of Debtor or Debtors (hereinafter "Debtor") has been transmitted to all creditors.
Debtor's plan, or plan as modified, satisfies the requirements of 11 U.S.C. § 1325.

Accordingly, it is ORDERED that

      (1) The Chapter 13 plan is confirmed;

      (2) Property of the estate shall not revest in Debtor until the earlier of discharge of Debtor or
dismissal of the case, unless the Court orders otherwise;

       (3) A creditor must have a proof of claim filed with the Clerk of Court in order to receive a
distribution under this plan, without regard to any other provision of the plan; and

       (4) Because no party in interest has filed a request for an order of dismissal pursuant to 11 U.S.C. §
521(i)(2) and because the parties in interest should not be subjected to any uncertainty as to whether this
case is subject to automatic dismissal under § 521(i)(1), Debtor is not required to file any further document
pursuant to § 521(a)(1)(B) to avoid an automatic dismissal and this case is not and was not subject to
automatic dismissal under § 521(i)(1). This does not prevent any party in interest from requesting by motion
that Debtor supply further information described in § 521(a)(1)(B), and this does not prevent the Chapter 13
Trustee from requesting by any authorized means, including but not limited to motion, that the Debtor
supply further information.

      The Clerk is directed to serve a copy of this Order upon Debtor, counsel for Debtor, and any trustee.

      IT IS SO ORDERED.




                                                          Robert Brizendine
                                                          United States Bankruptcy Judge
     Case 09-69160-jrs   Doc 19 Filed 06/18/09 Entered 06/18/09 14:06:09   Desc O Cnf
                               Plan & O to Debtor Page 2 of 2

Dated: June 18, 2009
Form 133
